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October 5, 2021

VIA ECF

Hon. Thomas J. McAvoy
15 Henry Street
Binghamton, NY 13901

Re: Bell Atlantic Mobile Systems LLC d/b/a Verizon Wireless v City of Hudson, et al.
Case No.: 1:21-cv-00774

Dear Judge McAvoy:

This office represents the City of Hudson, New York Defendants in the above-referenced
matter. This is a request for a one week extension of time for the City of Hudson Defendants to
respond to Plaintiff's Complaint, currently due on October 5, 2021. The parties are in productive
discussions, and the request is to extend the response date to October 12, 2021. I have spoken

with Plaintiff's counsel, Scott P. Olson, Esq., who consents to this request. This request does not
affect any other scheduled dates.

Thank you for your consideration with respect to this matter.
Respectfully submitted,

by)

David T. Luntz
DTLi ltd

ce: All parties (via ECF)

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